Case 3:21-cv-12870-MAS-DEA Document 9-17 Filed 07/14/21 Page 1 of 12 PageID: 370




                EXHIBIT Q
CaseCase
     3:21-cv-12870-MAS-DEA
          1:20-cv-00753-LPS Document
                             Document19-17
                                        FiledFiled
                                              06/04/20
                                                   07/14/21
                                                         PagePage
                                                              1 of 2
                                                                   11ofPageID
                                                                        12 PageID:
                                                                              #: 1 371




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE
  SILVERGATE PHARMACEUTICALS, INC.,                    )
                                                       )
                        Plaintiff,                     )
                                                       )
         v.                                            )
                                                       )    C.A. No. ________________
  ANNORA PHARMA PRIVATE LIMITED,                       )
                                                       )
                        Defendant.                     )

                        COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Silvergate Pharmaceuticals, Inc. (“Silvergate” or “Plaintiff”), by and through its

  attorneys, brings this Complaint for Patent Infringement against Defendant Annora Pharma

  Private Limited (“Annora” or “Defendant”), and alleges as follows:

                                THE NATURE OF THE ACTION

         1.      This is an action for patent infringement of United States Patent Nos. 9,669,008

  (“the ’008 Patent”), 9,808,442 (“the ’442 Patent”), 10,039,745 (“the ’745 Patent”), and

  10,154,987 (“the ’987 Patent”) (collectively, the “Patents-in-Suit”) under the patent laws of the

  United States, Title 35, United States Code, arising out of the submission by Annora of

  Abbreviated New Drug Application (“ANDA”) No. 214467 to the United States Food and Drug

  Administration (“FDA”) seeking approval of a generic version of Silvergate’s oral solution

  formulation that is the subject of New Drug Application (“NDA”) No. 208686, hereinafter

  referred to as Silvergate’s “Epaned® Product.” Silvergate seeks all available relief under the

  patent laws of the United States, 35 U.S.C. § 100, et seq., and other applicable laws for Annora’s

  infringement of the Patents-in-Suit.
CaseCase
     3:21-cv-12870-MAS-DEA
          1:20-cv-00753-LPS Document
                             Document19-17
                                        FiledFiled
                                              06/04/20
                                                   07/14/21
                                                         PagePage
                                                              2 of 3
                                                                   11ofPageID
                                                                        12 PageID:
                                                                              #: 2 372




                                         THE PARTIES

         2.     Silvergate is a corporation organized and existing under the laws of the State of

  Delaware, with a principal place of business at 6251 Greenwood Plaza Blvd., Suite 101,

  Greenwood Village, CO 80111.

         3.     On information and belief, Annora is a corporation organized and existing under

  the laws of the Republic of India, having a principal place of business at Sy. No. 261, Annaram

  Village, Gummadidala Mandal, Sangareddy Dist., Telangana State, 502313, India.

         4.     On information and belief, Annora is in the business of, among other things,

  developing, manufacturing, marketing, importing, and selling generic copies of branded

  pharmaceutical products for the United States market.

                                 JURISDICTION AND VENUE

         5.     This action arises under the patent laws of the United States of America, 35

  U.S.C. § 100, et seq., and from Annora’s submission of ANDA No. 214467 (“Annora’s

  ANDA”).

         6.     This Court has subject matter jurisdiction over the action under 28 U.S.C. §§ 1331

  and 1338(a). Relief is sought under 35 U.S.C. § 271(e)(2).

         7.     On information and belief, this Court has personal jurisdiction over Annora

  because of, among other things, Annora’s persistent and continuous contacts with Delaware.

  Annora has purposefully availed itself of the benefits and protections of Delaware’s laws such

  that it should reasonably anticipate being haled into court here. On information and belief,

  Annora regularly and continuously transacts business in Delaware, including by directly or

  indirectly developing, manufacturing, marketing, and selling generic pharmaceutical products in

  Delaware. On information and belief, Annora derives substantial revenue from the sale of those

  products in Delaware and has availed itself of the privilege of conducting business within


                                                 2
CaseCase
     3:21-cv-12870-MAS-DEA
          1:20-cv-00753-LPS Document
                             Document19-17
                                        FiledFiled
                                              06/04/20
                                                   07/14/21
                                                         PagePage
                                                              3 of 4
                                                                   11ofPageID
                                                                        12 PageID:
                                                                              #: 3 373




  Delaware. Annora has regularly engaged in patent litigation concerning FDA-approved products

  in this judicial district, has not contested personal jurisdiction in such litigation in this judicial

  district, and has purposefully availed itself of the rights and benefits of this court by asserting

  claims and/or counterclaims in this Court. See, e.g., Boehringer Ingelheim Pharms. Inc. v.

  Annora Pharma Private Ltd., C.A. No. 20-277-CFC, D.I. 8 (D. Del. Apr. 27, 2020); Amgen Inc.

  v. Annora Pharma Private Ltd., C.A. No. 20-122-CFC, D.I. 9 (D. Del. Mar. 26, 2020); Vifor

  Fresenius Med. Care Renal Pharma Ltd. v. Annora Pharma Private Ltd., C.A. No. 18-1996-MN,

  D.I. 12 (D. Del. Mar. 1, 2019); Boehringer Ingelheim Pharms. Inc. v. Annora Pharma Private

  Ltd., C.A. No. 18-1786-CFC-SRF, D.I. 19 (D. Del. Jan. 18, 2019).

         8.      On information and belief, this judicial district is a likely destination of the

  product that is the subject of Annora’s ANDA.

         9.      Alternatively, this Court has personal jurisdiction over Annora pursuant to

  Federal Rule of Civil Procedure 4(k)(2) because (a) Silvergate’s claims arise under federal law;

  (b) Annora is a foreign defendant not subject to personal jurisdiction in the courts of any state;

  and (c) Annora has sufficient contacts with the United States as a whole, including, but not

  limited to, preparing and submitting ANDA No. 214467 to the FDA and/or manufacturing,

  importing, offering to sell, and/or selling generic pharmaceutical products that are distributed

  throughout the United States, such that this Court’s exercise of jurisdiction over Annora satisfies

  due process.

         10.     Venue is proper in this Court under 28 U.S.C. §§ 1391(b) and (c). Annora is a

  foreign corporation not residing in any United States district and may be sued in any judicial

  district. 28 U.S.C. § 1391(c).
                              SILVERGATE’S EPANED® PRODUCT

         11.     Silvergate’s Epaned® product is the only FDA approved and labeled ace inhibitor

  treatment that is a ready-to-use oral solution for hypertension in children. Epaned® is also



                                                    3
CaseCase
     3:21-cv-12870-MAS-DEA
          1:20-cv-00753-LPS Document
                             Document19-17
                                        FiledFiled
                                              06/04/20
                                                   07/14/21
                                                         PagePage
                                                              4 of 5
                                                                   11ofPageID
                                                                        12 PageID:
                                                                              #: 4 374




  indicated to treat hypertension in adults, heart failure, and asymptomatic left ventricular

  dysfunction.

          12.     Silvergate holds approved NDA No. 208686 for its Epaned® Product.

                                          PATENTS-IN-SUIT

          13.     The ’008 Patent, entitled “Enalapril Formulations,” issued to Gerold Mosher and

  David Miles on June 6, 2017. A true and correct copy of the ’008 Patent is attached to this

  Complaint as Exhibit A.

          14.     The ’008 Patent was duly and legally issued to Silvergate as the assignee, and

  Silvergate owns all rights, title, and interest in the ’008 Patent.

          15.     Pursuant to 21 U.S.C. § 355, the ’008 Patent is listed in the Approved Drug

  Products with Therapeutic Equivalence Evaluations (“the Orange Book”) in connection with

  Silvergate’s Epaned® Product.

          16.     Silvergate’s Epaned® Product is covered by at least one claim of the ’008 Patent.

          17.     The ’442 Patent, entitled “Enalapril Formulations,” issued to Gerold Mosher and

  David Miles on November 7, 2017. A true and correct copy of the ’442 Patent is attached to this

  Complaint as Exhibit B.

          18.     The ’442 Patent was duly and legally issued to Silvergate as the assignee, and

  Silvergate owns all rights, title, and interest in the ’442 Patent.

          19.     Pursuant to 21 U.S.C. § 355, the ’442 Patent is listed in the Orange Book in

  connection with Silvergate’s Epaned® Product.

          20.     The use of Silvergate’s Epaned® Product is covered by at least one claim of the

  ’442 Patent.

          21.     The approved indications for Silvergate’s Epaned® Product are covered by at least

  one claim of the ’442 Patent.


                                                     4
CaseCase
     3:21-cv-12870-MAS-DEA
          1:20-cv-00753-LPS Document
                             Document19-17
                                        FiledFiled
                                              06/04/20
                                                   07/14/21
                                                         PagePage
                                                              5 of 6
                                                                   11ofPageID
                                                                        12 PageID:
                                                                              #: 5 375




          22.     The ’745 Patent, entitled “Enalapril Formulations,” issued to Gerold Mosher and

  David Miles on August 7, 2018. A true and correct copy of the ’745 Patent is attached to this

  Complaint as Exhibit C.

          23.     The ’745 Patent was duly and legally issued to Silvergate as the assignee, and

  Silvergate owns all rights, title, and interest in the ’745 Patent.

          24.     Pursuant to 21 U.S.C. § 355, the ’745 Patent is listed in the Orange Book in

  connection with Silvergate’s Epaned® Product.

          25.     Silvergate’s Epaned® Product is covered by at least one claim of the ’745 Patent.

          26.     The ’987 Patent, entitled “Enalapril Formulations,” issued to Gerold Mosher and

  David Miles on December 18, 2018. A true and correct copy of the ’987 Patent is attached to

  this Complaint as Exhibit D.

          27.     The ’987 Patent was duly and legally issued to Silvergate as the assignee, and

  Silvergate owns all rights, title, and interest in the ’987 Patent.

          28.     Pursuant to 21 U.S.C. § 355, the ’987 Patent is listed in the Orange Book in

  connection with Silvergate’s Epaned® Product.

          29.     The use of Silvergate’s Epaned® Product is covered by at least one claim of the

  ’987 Patent.

          30.     The approved indications for Silvergate’s Epaned® Product are covered by at least

  one claim of the ’987 Patent.

                                   INFRINGEMENT BY ANNORA

          31.     On information and belief, Annora has submitted or caused to be submitted

  ANDA No. 214467 to FDA under 21 U.S.C. § 355(j), to obtain approval to engage in the

  commercial manufacture, use, offer for sale, sale, or importation into the United States of a




                                                     5
CaseCase
     3:21-cv-12870-MAS-DEA
          1:20-cv-00753-LPS Document
                             Document19-17
                                        FiledFiled
                                              06/04/20
                                                   07/14/21
                                                         PagePage
                                                              6 of 7
                                                                   11ofPageID
                                                                        12 PageID:
                                                                              #: 6 376




  purported generic version of Silvergate’s Epaned® Product, prior to the expiration of the Patents-

  in-Suit.

             32.   On information and belief, FDA has not yet approved ANDA No. 214467.

             33.   Silvergate received a Notice of Paragraph IV Certification from Annora dated

  April 21, 2020 (“Notice Letter”). The Notice Letter represented that Annora had submitted

  ANDA No. 214467 to FDA pursuant to Section 505(j)(2)(B) of the Federal Food, Drug, and

  Cosmetic Act (“FDCA”) (21 U.S.C. § 355(j)(2)(B) and 21 C.F.R. § 314.95) to obtain approval to

  engage in the commercial manufacture, use, and sale of the product described in ANDA No.

  214467 (“the Annora ANDA Product”) before the expiration of the Patents-in-Suit.

             34.   On information and belief, Annora intends to engage in the commercial

  manufacture, use, and sale of the Annora ANDA Product promptly upon receiving FDA

  approval to do so.

             35.   By submitting ANDA No. 214467, Annora has represented to FDA that the

  Annora ANDA Product has the same active ingredients as Silvergate’s Epaned® Product; has the

  same route of administration, dosage form, use, and strength as Silvergate’s Epaned® Product;

  and is bioequivalent to Silvergate’s Epaned® Product.

             36.   This action is being filed within forty-five (45) days of Silvergate’s receipt of

  Annora’s Notice Letter.

                                       CLAIMS FOR RELIEF

                              Count I—Infringement of the ’008 Patent

             37.   Silvergate incorporates each of the preceding paragraphs as if fully set forth

  herein.

             38.   On information and belief, Annora submitted or caused the submission of ANDA

  No. 214467 to FDA under section 505(j) of the FDCA to obtain approval to engage in the


                                                   6
CaseCase
     3:21-cv-12870-MAS-DEA
          1:20-cv-00753-LPS Document
                             Document19-17
                                        FiledFiled
                                              06/04/20
                                                   07/14/21
                                                         PagePage
                                                              7 of 8
                                                                   11ofPageID
                                                                        12 PageID:
                                                                              #: 7 377




  commercial manufacture, use, offer for sale, sale, and/or importation of the Annora ANDA

  Product throughout the United States before the expiration of the ’008 Patent. By submitting

  ANDA No. 214467, Annora has committed an act of infringement of one or more claims of the

  ’008 Patent under 35 U.S.C. § 271(e).

            39.   If Annora’s ANDA is approved by FDA, the commercial manufacture, use, offer

  to sell, or sale within the United States, and/or importation into the United States of the Annora

  ANDA Product will constitute acts of infringement, either literally or under the doctrine of

  equivalents, of the ’008 Patent under 35 U.S.C. § 271(a)-(c) unless enjoined by the Court.

            40.   On information and belief, Annora had actual and constructive knowledge of the

  ’008 Patent prior to submitting ANDA No. 214467 and was aware that submission of the ANDA

  to FDA constituted an act of infringement of the ’008 Patent. In addition, on information and

  belief, Annora had specific intent to infringe the ’008 Patent when it filed ANDA No. 214467.

  Moreover, there are no substantial non-infringing uses for the Annora ANDA Product other than

  as the pharmaceutical claimed in the ’008 Patent.

            41.   The commercial manufacture, use, offer for sale, sale, and/or importation of the

  Annora ANDA Product in violation of Silvergate’s patent rights will cause substantial and

  irreparable harm to Silvergate for which damages are inadequate.

                            Count II—Infringement of the ’442 Patent

            42.   Silvergate incorporates each of the preceding paragraphs as if fully set forth

  herein.

            43.   On information and belief, Annora submitted or caused the submission of ANDA

  No. 214467 to FDA under section 505(j) of the FDCA to obtain approval to engage in the

  commercial manufacture, use, offer for sale, sale, and/or importation of the Annora ANDA

  Product throughout the United States before the expiration of the ’442 Patent. By submitting


                                                  7
CaseCase
     3:21-cv-12870-MAS-DEA
          1:20-cv-00753-LPS Document
                             Document19-17
                                        FiledFiled
                                              06/04/20
                                                   07/14/21
                                                         PagePage
                                                              8 of 9
                                                                   11ofPageID
                                                                        12 PageID:
                                                                              #: 8 378




  ANDA No. 214467, Annora has committed an act of infringement of one or more claims of the

  ’442 Patent under 35 U.S.C. § 271(e).

            44.   If Annora’s ANDA is approved by FDA, the commercial use, offer to sell, or sale

  within the United States, and/or importation into the United States of the Annora ANDA Product

  will constitute acts of infringement, either literally or under the doctrine of equivalents, of the

  ’442 Patent under 35 U.S.C. § 271(a)-(c) unless enjoined by the Court.

            45.   On information and belief, Annora had actual and constructive knowledge of the

  ’442 Patent prior to submitting ANDA No. 214467 and was aware that submission of the ANDA

  to FDA constituted an act of infringement of the ’442 Patent. In addition, on information and

  belief, Annora had specific intent to infringe the ’442 Patent when it filed ANDA No. 214467.

  Moreover, there are no substantial non-infringing uses for the Annora ANDA Product other than

  the methods claimed in the ’442 Patent.

            46.   The commercial use, offer for sale, sale, and/or importation of the Annora ANDA

  Product in violation of Silvergate’s patent rights will cause substantial and irreparable harm to

  Silvergate for which damages are inadequate.

                            Count III—Infringement of the ’745 Patent

            47.   Silvergate incorporates each of the preceding paragraphs as if fully set forth

  herein.

            48.   On information and belief, Annora submitted or caused the submission of ANDA

  No. 214467 to FDA under section 505(j) of the FDCA to obtain approval to engage in the

  commercial manufacture, use, offer for sale, sale, and/or importation of the Annora ANDA

  Product throughout the United States before the expiration of the ’745 Patent. By submitting

  ANDA No. 214467, Annora has committed an act of infringement of one or more claims of the

  ’745 Patent under 35 U.S.C. § 271(e).


                                                  8
Case Case
     3:21-cv-12870-MAS-DEA
          1:20-cv-00753-LPS Document
                            Document 19-17
                                         Filed
                                             Filed
                                               06/04/20
                                                   07/14/21
                                                          Page
                                                             Page
                                                               9 of10
                                                                    11of
                                                                       PageID
                                                                         12 PageID:
                                                                              #: 9 379




            49.   If Annora’s ANDA is approved by FDA, the commercial manufacture, use, offer

  to sell, or sale within the United States, and/or importation into the United States of the Annora

  ANDA Product will constitute acts of infringement, either literally or under the doctrine of

  equivalents, of the ’745 Patent under 35 U.S.C. § 271(a)-(c) unless enjoined by the Court.

            50.   On information and belief, Annora had actual and constructive knowledge of the

  ’745 Patent prior to submitting ANDA No. 214467 and was aware that submission of the ANDA

  to FDA constituted an act of infringement of the ’745 Patent. In addition, on information and

  belief, Annora had specific intent to infringe the ’745 Patent when it filed ANDA No. 214467.

  Moreover, there are no substantial non-infringing uses for the Annora ANDA Product other than

  as the pharmaceutical claimed in the ’745 Patent.

            51.   The commercial manufacture, use, offer for sale, sale, and/or importation of the

  Annora ANDA Product in violation of Silvergate’s patent rights will cause substantial and

  irreparable harm to Silvergate for which damages are inadequate.

                            Count IV—Infringement of the ’987 Patent

            52.   Silvergate incorporates each of the preceding paragraphs as if fully set forth

  herein.

            53.   On information and belief, Annora submitted or caused the submission of ANDA

  No. 214467 to FDA under section 505(j) of the FDCA to obtain approval to engage in the

  commercial manufacture, use, offer for sale, sale, and/or importation of the Annora ANDA

  Product throughout the United States before the expiration of the ’987 Patent. By submitting

  ANDA No. 214467, Annora has committed an act of infringement of one or more claims of the

  ’987 Patent under 35 U.S.C. § 271(e).

            54.   If Annora’s ANDA is approved by FDA, the commercial use, offer to sell, or sale

  within the United States, and/or importation into the United States of the Annora ANDA Product


                                                  9
CaseCase
     3:21-cv-12870-MAS-DEA
         1:20-cv-00753-LPS Document
                            Document1 9-17
                                       FiledFiled
                                            06/04/20
                                                  07/14/21
                                                       PagePage
                                                            10 of11
                                                                  11of
                                                                     PageID
                                                                       12 PageID:
                                                                            #: 10 380




  will constitute acts of infringement, either literally or under the doctrine of equivalents, of the

  ’987 Patent under 35 U.S.C. § 271(a)-(c) unless enjoined by the Court.

         55.     On information and belief, Annora had actual and constructive knowledge of the

  ’987 Patent prior to submitting ANDA No. 214467 and was aware that submission of the ANDA

  to FDA constituted an act of infringement of the ’987 Patent. In addition, on information and

  belief, Annora had specific intent to infringe the ’987 Patent when it filed ANDA No. 214467.

  Moreover, there are no substantial non-infringing uses for the Annora ANDA Product other than

  the methods claimed in the ’987 Patent.

         56.     The commercial use, offer for sale, sale, and/or importation of the Annora ANDA

  Product in violation of Silvergate’s patent rights will cause substantial and irreparable harm to

  Silvergate for which damages are inadequate.

                                      PRAYER FOR RELIEF

         Silvergate respectfully requests the following relief:

         a)      A judgment that Annora has infringed the ’008 Patent, the ’442 Patent, the ’745

  Patent, and the ’987 Patent under 35 U.S.C. § 271(e)(2)(A) by submitting ANDA No. 214467

  under Section 505(j) of the FDCA, and that Annora’s making, using, offering to sell, or selling in

  the United States or importing into the United States of the Annora ANDA Product will infringe,

  either literally or under the doctrine of equivalents, one or more claims of the ’008 Patent, the

  ’442 Patent, the’745 Patent, and the ’987 Patent;

         b)      A finding that the ’008 Patent, the ’442 Patent, the ’745 Patent, and the ’987

  Patent are valid and enforceable;

         c)      An order under 35 U.S.C. § 271(e)(4)(A) that the effective date of any FDA

  approval of ANDA No. 214467 shall be a date which is not earlier than the latest expiration date




                                                  10
CaseCase
     3:21-cv-12870-MAS-DEA
         1:20-cv-00753-LPS Document
                            Document1 9-17
                                       FiledFiled
                                            06/04/20
                                                  07/14/21
                                                       PagePage
                                                            11 of12
                                                                  11of
                                                                     PageID
                                                                       12 PageID:
                                                                            #: 11 381




  of the ’008 Patent, the ’442 Patent, the ’745 Patent, and the ’987 Patent, as extended by any

  applicable periods of exclusivity;

            d)   An order under 35 U.S.C. § 27l(e)(4)(B) permanently enjoining Annora, its

  subsidiaries, parents, officers, agents, servants, employees, licensees, representatives, and

  attorneys, and all other persons acting or attempting to act in active concert or participation with

  it or acting on its behalf, from engaging in the commercial manufacture, use, offer to sell, sale, or

  importation into the United States, of any drug product the use of which is covered by the ’008

  Patent, the ’442 Patent, the ’745 Patent, and the ’987 Patent, including the Annora ANDA

  Product;

            e)   A finding that this is an exceptional case under 35 U.S.C. § 285, and that

  Silvergate be awarded reasonable attorneys’ fees and costs; and

            f)   An award of any such other and further relief as the Court may deem just and

  proper.

                                                         MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                         /s/ Megan E. Dellinger
  OF COUNSEL:
                                                         Jack B. Blumenfeld (#1014)
  Wendy L. Devine                                        Megan E. Dellinger (#5739)
  WILSON SONSINI GOODRICH & ROSATI                       1201 North Market Street
  One Market Plaza, Spear Tower, Suite 3300              P.O. Box 1347
  San Francisco, CA 94105                                Wilmington, DE 19899
  (415) 947-2000                                         (302) 658-9200
                                                         jblumenfeld@mnat.com
  Natalie J. Morgan                                      mdellinger@mnat.com
  Elham Steiner
  WILSON SONSINI GOODRICH & ROSATI                       Attorneys for Plaintiff Silvergate
  12235 El Camino Real                                   Pharmaceuticals, Inc.
  San Diego, CA 92130
  (858) 350-2300

  June 4, 2020




                                                   11
